Case 4:01-cr-00022-SEB-VTW           Document 40       Filed 05/19/11     Page 1 of 6 PageID #: 88




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   NEW ALBANY DIVISION



  UNITED STATES OF AMERICA,                    )
                                               )
                  Plaintiff,                   )
                                               )
      v.                                       )       Cause No. 4:01-CR-22-03-SEB-MGN
                                               )
  TERRY LEE MOZEE                              )
                                               )
                  Defendant.                   )


                 MAGISTRATE JUDGE’S REPORT AND RECOMMENDATION


           This matter is before the undersigned U.S. Magistrate Judge pursuant to the Order

  entered by the Honorable Sarah Evans Barker, U.S. District Court Judge, on May 10, 2011,

  designating the Magistrate Judge to conduct a hearing on the Supplemental Petition for Warrant

  for Offender Under Supervision filed with the Court on May 10, 2011, and to submit to Judge

  Barker proposed Findings of Facts and Recommendations for disposition under 18 U.S.C.

  §§3401(i) and 3583(e) and (g). An initial hearing was held on May 11, 2011, and a revocation

  hearing was held on May 13, 2011, in accordance with Rule 32.1 of the Federal Rules of

  Criminal Procedure and 18 U.S.C. §3583.       Mr. Mozee appeared in person and with CJA

  Counsel, Frank Campisano.      The Government appeared by A. Brant Cook, Assistant United

  States Attorney. U.S. Probation appeared by Brian Bowers, who participated in the

  proceedings.

           The following procedures occurred in accordance with Rule 32.1 of the Federal Rules of

  Criminal Procedure and 18 U.S.C. §3583:
Case 4:01-cr-00022-SEB-VTW           Document 40        Filed 05/19/11      Page 2 of 6 PageID #: 89




         1. On May 11, 2011, Frank Campisano, CJA Counsel, was present to represent Mr.

  Mozee in regard to the pending Supplemental Petition for Revocation of Supervised Release.

         2. A copy of the Supplemental Petition for Revocation of Supervised Release was

  provided to Mr. Mozee and his counsel. The Magistrate Judge summarized the alleged

  violations and, further, Mr. Mozee and his counsel informed the Court that they had read and

  understood the specifications of each alleged violation and waived further reading thereof.

         3. Mr. Mozee was advised of his right to a preliminary hearing and its purpose in regard

  to the alleged specified violations of his supervised release contained in the pending Petition.

         4. Mr. Mozee was informed that he would have the right to question witnesses against

  him at the preliminary hearing unless the Court, for good cause shown, found that justice did not

  require the appearance of a witness or witnesses.

         5. Mr. Mozee was afforded the opportunity to appear at the preliminary hearing and

  present evidence on his own behalf.

         6. Mr. Mozee was informed that, if the preliminary hearing resulted in a finding of

  probable cause that Mr. Mozee had violated an alleged condition or conditions of his supervised

  release set forth in the Supplemental Petition, he would be held for a revocation hearing.

         7. Mr. Mozee, by counsel, waived his right to a preliminary hearing, and a written

  waiver waiving the preliminary hearing was executed in open court. The Court then scheduled

  a detention hearing for May 13, 2011.

         8. On May 13, 2011, the defendant appeared by CJA Counsel, Frank Campisano, and

  the parties notified the Court that they wished to proceed with the revocation hearing. The

  Court then proceeded to the revocation hearing upon the allegations of alleged violation of the


                                                   2
Case 4:01-cr-00022-SEB-VTW          Document 40        Filed 05/19/11     Page 3 of 6 PageID #: 90




  Terms of Supervised Release particularly as set out in Violation Numbers 1(a), 2(a), 3(a), and

  5(a) as contained in the Supplemental Petition and took this matter under advisement.

         9. The Court, after considering the evidence presented, NOW FINDS that there is a

  basis in fact for revocation with regard to Violation Numbers 1(a), 2(a), 3(a), and 5(a). The

  violations are summarized as follows:

  Violation Number Nature of Noncompliance

         1(a)                   “The defendant shall report to the probation
                                officer and shall submit a truthful and complete
                                written report within the first five days of each
                                month.”

         2(a)                   “The defendant shall answer truthfully all
                                inquiries by the probation officer and follow
                                the instructions of the probation officer.”

         3(a)                   “The defendant shall notify the probation
                                officer at least ten days prior to any change in
                                residence or employment.”

                                On February 14, 2011, the offender appeared before U.S.
                                Magistrate Judge Michael G. Naville for an initial hearing on
                                violations of supervised release. The offender admitted the
                                violations and the Court ordered that he reside at his mother’s
                                residence, 3812 Fiske Avenue, New Albany, and pay $50.00 each
                                month toward his fine.

                                The offender also was instructed to report daily to the United
                                States Probation Office. He failed to report on February 15,
                                March 1 to 11, and April 4, 2011. This officer attempted to
                                schedule other meetings with him using the telephone number he
                                provided, but the number was to his mother’s residence.

                                Shortly after the hearing, this officer confirmed Mr. Mozee was
                                residing at 2507 Schrader Avenue in New Albany and was driving
                                a 2001 Dodge sedan, a vehicle not previously reported. It is noted
                                the offender submitted monthly report forms in March and April
                                falsely indicating he resided at his mother’s residence and drove a
                                2005 Ford Mustang.

                                                  3
Case 4:01-cr-00022-SEB-VTW           Document 40       Filed 05/19/11      Page 4 of 6 PageID #: 91




                                On May 5, 2011, a search was conducted at 2507 Schrader
                                Avenue. The offender and his girlfriend, India Orndorff, were
                                present. Officers seized two 12-inch hunting knives (one in each
                                bedroom), which Orndorff admitted were for self defense; a letter
                                from Christopher Dion Thompson, a federal inmate from the
                                Western District of Kentucky; and three hypodermic needles. The
                                offender admitted operating the previously unreported Dodge
                                sedan and residing at 2507 Schrader Avenue for “a couple of
                                months.” This was later confirmed by his mother, who stated he
                                has resided at 2507 Schrader Avenue since January 2011.

         5(a)                   “The defendant shall participate in a substance abuse
                                treatment program and shall submit to periodic drug and
                                alcohol testing at the direction and discretion of the probation
                                officer during the term of supervision.”

                                On March 11, 2011, the offender failed to report to a substance
                                abuse treatment session.


         10. Based on the information available to the Court, the Court further finds the
  following:

                 1)     Mr. Mozee has a relevant criminal history category of II. See, U.S.S.G.
                        §7B1.4(a).

                 2)     The most serious grade of violation committed by Mr. Mozee constitutes a
                        Grade C violation, pursuant to U.S.S.G. §7B1.1(b).

                 3)     Pursuant to U.S.S.G. §7B1.4(a) and (b)(3)(A)upon revocation of
                        supervised release, the range of imprisonment applicable to Mr. Mozee is
                        4-10 months.

         The Court, NOW FINDS, that the defendant, by a previous order dated February 23,

  2011, has violated the conditions of his supervised release as set forth Violation Numbers 1

  thru 6 of the Petition filed on December 8, 2010, and that the defendant has violated the

  above-delineated conditions of his supervised release as set forth in Violation Numbers 1(a),

  2(a), 3(a) and 5(a) of the Supplemental Petition filed on May 10, 2011. The defendant’s

  supervised release is therefore REVOKED, and Mr. Mozee is to reside for a period of twelve

                                                  4
Case 4:01-cr-00022-SEB-VTW           Document 40        Filed 05/19/11     Page 5 of 6 PageID #: 92




  (12) months at a residential reentry center and shall observe the rules of that facility. Upon

  successful completion of the twelve-month term, his term of supervised release shall be

  terminated. The Court recommends that the defendant be designated to Dismas House in

  Louisville, Kentucky.

         The defendant is ordered released from custody immediately. Pending designation to

  the residential reentry center, the defendant shall reside at 3812 Fiske Avenue in New Albany,

  Indiana; shall resume day reporting to the U.S. Probation Office, as instructed by the U.S.

  Probation Officer; ensure a reliable telephonic means of communication is available to the U.S.

  Probation Officer at all times; and ensure all telephone messages from the U.S. Probation Officer

  are returned within 24 hours of receipt.

         IT IS SO RECOMMENDED this 19th day of May, 2011.



                                        __________________________________
                                        Michael G. Naville, Magistrate Judge
                                        United States District Court




                                                   5
Case 4:01-cr-00022-SEB-VTW          Document 40   Filed 05/19/11   Page 6 of 6 PageID #: 93




  Distribution:

  A. Brant Cook
  United States Attorney’s Office
  brant.cook@usdoj.gov

  Frank Campisano
  frank@campisanolawoffice.com

  U.S. Marshal

  U.S. Probation Office




                                             6
